           Case 4:23-cr-00218        Document 5      Filed on 05/17/23 in TXSD       Page 1 of 1
                                                                                         United States District Court
             Sealed                    UNITED STATES DISTRICT COURT                        Southern District of Texas
Public and unofficial staff access     SOUTHERN DISTRICT OF TEXAS                               ENTERED
     to this instrument are                   HOUSTON DIVISION
   prohibited by court order                                                                    May 18, 2023
                                                                                           Nathan Ochsner, Clerk

      UNITED STATES OF AMERICA                           §
                                                         §
                                                         §     CRIMINAL NO:          4:23-cr-218
                       V.
                                                         §
                                                               SEALED
                                                         §
      HARDIK JAYANTILAL PATEL                            §
      aka Erik                                           §
      aka Mitesh                                         §
                                                         §
      aka Nick
                                                         §
      aka Dev
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §


                              ORDER FOR ISSUANCE OF BENCH WARRANT


         A         CRIMINAL INDICTMENT             has been returned against the defendant listed

      below.

         It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and

      appearance, a judicial determination shall be made as to detention or release on conditions. The

      United States Government recommends to the Court the following:

      Defendant

      HARDIK JAYANTILAL PATEL

                                                               DETENTION
                                                               RELEASED ON CONDITIONS
                                                               APPEARANCE BOND IN THE
                                                               AMOUNT OF: $

         SIGNED at Houston, Texas, on                          May 17, 2023
                                                                                            .




                                                   UNITED STATES MAGISTRATE JUDGE
